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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                      DistrictDistrict
                                                 __________    of Columbia
                                                                       of __________

                  United States of America                         )
                             v.                                    )
                       Vincent Galarza
                                                                   )      Case No.
                                                                   )
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of         6/25/16 to 12/21/16                    in the county of                                  in the
                       District of           Columbia          , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. §§ 2252(a)(2) and (b)(1)              did knowingly conspire with Jong Woo Son to knowingly distribute any visual
                                                depiction using any means and facility of interstate and foreign commerce,
                                                including by computer, where the visual depiction involved the use of a minor
                                                engaging in sexually explicit conduct as defined in 18 U.S.C. § 2256(2)(A),
                                                and such visual depiction is of such conduct.




         This criminal complaint is based on these facts:
Attached affidavit (which is incorporated herein by reference)




         ✔ Continued on the attached sheet.
         u

                                                                                              signed telephonically
                                                                                              Complainant’s signature

                                                                                             SA Darrell Franklin, HSI
                                                                                               Printed name and title

Sworn to before me and signed in my presence.


Date:             12/04/2018
                                                                                                  Judge’s signature

City and state:                         Washington, D.C.                      Robin M. Meriweather, United States Magistrate Judge
                                                                                             Printed name and title
